     Case 1:15-cv-02117-RDM Document 51 Filed 07/09/18 Page 1 of 2



                     THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
JASON LEOPOLD,                            )
                                          )
                  Plaintiff,              )
                                          )
      v.                                  )
                                          )                   Case No. 15-cv-02117 RDM
U.S. DEPARTMENT OF JUSTICE                )
                                          )
                  Defendant.              )
__________________________________________)

                                   STATUS REPORT

       Pursuant to this Court’s Order of October 3, 2016, Defendant respectfully submits

the following status report, based on information provided to it by non-party the

Department of State (“State”).

       The Court ordered that, by July 1, 2018, State aspire to review at least 1,850

pages of documents from the records provided to it by the Federal Bureau of

Investigation, and for each document reviewed to: (1) determine that it is not responsive

to the request at issue in this case; (2) refer the document to another agency for

consultation; or (3) produce the document, with appropriate redactions, to Plaintiff. See

ECF No. 26, Oct. 3, 2016 Order, at 1-2.

       State exceeded the goal set forth in the Order. By July 2, 20181, State had

processed 2,706 pages of documents from the materials provided to it by the FBI. On the




1
   Because July 1, 2018 was a Sunday, State posted the documents to its publicly
accessible FOIA “reading room” website on Monday, July 2, 2018. Therefore, Defendant
is filing this status report today. See ECF No. 26, Oct. 3, 2016 Order, at 2 (requiring
filing of status report one week after each production).
                                              1
     Case 1:15-cv-02117-RDM Document 51 Filed 07/09/18 Page 2 of 2



same date, State posted to its publicly accessible FOIA “reading room” website 123

documents comprising 184 pages. The remaining 2,522 of the 2,706 pages processed

were determined to be duplicative of information previously released, and thus are not

responsive to Plaintiff’s FOIA request.

Dated: July 9, 2018                         Respectfully submitted,

                                            CHAD A. READLER
                                            Acting Assistant Attorney General

                                            MARCIA BERMAN
                                            Assistant Branch Director

                                            /s/ Jennie L. Kneedler
                                            JENNIE L. KNEEDLER
                                            Trial Attorney
                                            United States Department of Justice
                                            Civil Division, Federal Programs Branch
                                            20 Massachusetts Ave., N.W.
                                            Washington, D.C. 20001
                                            Tel. (202) 305-8662
                                            Fax (202) 616-8470
                                            Email: Jennie.L.Kneedler@usdoj.gov
                                            D.C. Bar # 500261

                                            Attorneys for Defendant




                                            2
